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             IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
In Re:                               )
                                     )
INTERSTATE UNDERGROUND WAREHOUSE )         Case No. 21-40834-drd11
AND INDUSTRIAL PARK, INC.,           )
                                     )
                Debtor.              )

                           NOTICE OF RULE 2004 EXAMINATION

TO: WAYNE REEDER

PLEASE TAKE NOTICE that Wayne Reeder is to appear for examination in accordance with the
Federal Rule 2004 of the Bankruptcy Rules of Procedure in the offices of Krigel & Krigel, P.C.,
4520 Main Street, Suite 700, Kansas City, Missouri 64111, on January 18, 2022 at 1:30 p.m. The
examination will continue from day to day until completed and will be stenographically recorded
by a certified court reporter. The scope of the examination shall be as described in Fed. R.Civ. P.
26 and 30.


The undersigned counsel hereby certifies that the proposed examination is more than seven (7)
days from the date of this Notice in compliance with LBR 2004.1.

                                                     KRIGEL & KRIGEL, P.C.

                                                     /s/ Erlene W. Krigel
                                                     Erlene W. Krigel, No. 29416
                                                     4520 Main Street Suite 700
                                                     Kansas City, Missouri 64111
                                                     Telephone: (816) 756-5800
                                                     Facsimile: (816) 756-1999
                                                     ATTORNEYS FOR DEBTOR

                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served on this 11th day of January, 2022,
electronically on counsel for Wayne Reeder at cgotham@emlawkc.com and to all parties who are
listed on the Court’s ECF notification system.

                      /s/ Erlene W. Krigel
                      Erlene W. Krigel


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             EXHIBIT A TO SUBPOENA FOR RULE 2004 EXAMINATION


  1. Documents to evidence that Wayne Reeder would retain an equitable
     interest in shares of Interstate Underground Warehouse and Industrial
     Park, Inc. (“IUW”).

  2. Documents to evidence that Wayne Reeder and Sammy Jo Reeder created
     a partnership as to the ownership of IUW.

  3. Documents to evidence investment made in or loans extended to IUW by
     Wayne Reeder.

  4. Documents to evidence the obligation alleged to be owed to Wayne Reeder
     by IUW as reflected in the Promissory Note, dated 10/20/03, in the amount
     of $4,750,000, and attached to Wayne Reeder’s Proof of Claim.

  5. Documents to evidence demand made upon IUW for payment of the
     Promissory Note referenced in 4 above.

  6. Original of the Promissory Note, dated 10/20/03, in the amount of
     $4,750,000.

  7. All documents pertaining to the following entities:

     a.   Seven at KC LLC
     b.   Nine at KC LLC
     c.   West Wyoming LLC
     d.   Park Reserve LLC
     e.   The View at WB LLC
     f.   Scarritt Building and Scarritt Arcade Building LLC
     g.   Interstate Self Storage LLC
     h.   Interstate Underground Warehouse LLC
     i.   Harrisonville Senior Care Center LLC
     j.   Interstate National & Global Financial Investment LLC
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                                     UNITED STATES BANKRUPTCY COURT
                 Western
 _______________________________________                               Missouri
                                         District of ___________________________________________

       ,QWHUVWDWH8QGHUJURXQG:DUHKRXVHDQG,QGXVWULDO3DUN,QF
In re __________________________________________                                                  21-40834-drd
                                                                                     Case No. _____________________
                                    Debtor
                                                                                                   11
                                                                                     Chapter ______________


                                             SUBPOENA FOR RULE 2004 EXAMINATION

    Wayne Reeder
To: ________________________________________________________________________________________
                                 (Name of person to whom the subpoena is directed)


 ■ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
 PLACE                                                                                                       DATE AND TIME
Krigel & Krigel, PC
4520 Main St., Ste. 700                                                                                             01/18/22 DW         1:30 pm
Kansas City, MO 64111


                                                 Stenographic (by oral examination before a certified court reporter or other person authorized to administer oaths)
The examination will be recorded by this method: ___________________________________________________________

 ■  Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:

            6HH$WWDFKHG([KLELW$


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

        1/11/2022
Date: _____________
                                   CLERK OF COURT

                                                                                    OR
                                   ________________________                                ________________________
                                   Signature of Clerk or Deputy Clerk                          Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
____________________________
Debtor                             , who issues or requests this subpoena, are:
 Erlene W. Krigel, Krigel & Krigel, P.C. 4520 Main St., Ste. 700, Kansas City, MO 64111
 816-756-5800 ekrigel@krigelandkrigel.com


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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       )R            ESR                           RQ  3DJH 
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                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                                                                      :D\QH5HHGHU
I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

■ I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                      ________________________________________________
                                                                                           Server’s signature

                                                                      ________________________________________________
                                                                                          Printed name and title


                                                                      ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:
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       )R            ESR                           RQ  3DJH
                                                             
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
